Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 1 of 7 PAGEID #: 1
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 2 of 7 PAGEID #: 2




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                      EASTERN DIVISION AT COLUMBUS


MUNICIPAL MUTUAL INSURANCE                :
COMPANY OF WEST VIRGINIA
950 Main St.                              :      Case No.
Wellsburg, WV 26070
                                          :
              Plaintiff,
                                          :      COMPLAINT FOR
        vs.                                      DECLARATORY JUDGMENT
                                          :
TARA N. DUMOLT
1220 Cemetery Rd.                         :
New Lexington, OH 43764
                                          :
              Defendant.
                                          :

        For its Complaint against the Defendant, Plaintiff Municipal Mutual Insurance

Company of West Virginia states and alleges as follows:

                      PARTIES, JURISDICTION, AND VENUE

        1.    Plaintiff brings this action requesting a declaratory judgment on the

question of whether it must provide insurance coverage to Defendant for a fire loss

sustained at a dwelling located at 9559 Marietta Rd., New Lexington, Perry County, Ohio

(hereinafter “subject property”), pursuant to a contract of homeowner’s insurance written

by Plaintiff and issued to Defendant.

        2.    Plaintiff is a corporation organized and operating under the laws of the State

of West Virginia with its principal place of business in Wellsburg, West Virginia.

        3.    Plaintiff is authorized to conduct the business of insurance in the state of

Ohio.

        4.    Defendant is an individual residing in New Lexington, Perry County, Ohio.
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 3 of 7 PAGEID #: 3




       5.       This matter in controversy involves a declaration of rights, duties and

obligations under an insurance policy pursuant to Rule 57 of the Federal Rules of Civil

Procedure and 28 U.S.C. §2201.

       6.       This Court has subject-matter jurisdiction of this action under 28 U.S.C.

§1332 because:

             a. there is complete diversity of citizenship between Plaintiff and Defendant,

                and;

             b. the amount in controversy exceeds the sum of $75,000, exclusive of interest

                and costs, in that the “Dwelling” coverage that is at issue in the subject

                insurance policy has a coverage limit of $85,000.

       7.       Venue is appropriate in this Court because the insurance policy at issue

insures property located in New Lexington, Perry County, Ohio, and the facts and

circumstances giving rise to this matter took place in New Lexington, Perry County, Ohio.

                            DECLARATORY RELIEF CLAIM

       8.       Plaintiff incorporates Paragraphs 1 through 7 of this Complaint as though

fully rewritten herein.

       9.       On September 21, 2010, Defendant completed an application to the Plaintiff

for the issuance of a homeowners insurance policy for the subject property. A copy of the

“Homeowners Application” is attached hereto as “Exhibit A” and incorporated herein by

reference.

       10.      In the application, Defendant represented that her interest in the subject

property was “outright ownership.”




                                              2
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 4 of 7 PAGEID #: 4




      11.       In signing the application, Defendant certified that “all statements in this

application are true and correct and that they are offered as an inducement to the

[Plaintiff] to issue the policy” for which the Defendant was applying.

      12.       In reliance on the statements contained in the September 21, 2010

application, Plaintiff issued a Homeowners Form 2 insurance policy (policy number

3203-841) to the Defendant as the sole named insured, to insure the subject property.

      13.       The initial policy had a term of October 10, 2010 to October 10, 2011. The

policy was renewed for eleven additional one-year terms with the Defendant as the sole

named insured.

      14.       The current term of the policy is from October 10, 2021 to October 10, 2022,

with the Defendant as the sole named insured. A copy of the current policy issued by

Plaintiff to Defendant is attached hereto as “Exhibit B” and incorporated herein by

reference.

      15.       On or about March 29, 2022, the dwelling and various personal property

located on the subject property was damaged by a fire in the kitchen.

      16.       Defendant, through her father, provided notice of the loss to Plaintiff on or

about March 30, 2022.

      17.       After a thorough and complete investigation of the loss, Plaintiff has

discovered that:

             a. Defendant does not own the subject property;

             b. Dwight Bowen, Jr. (Defendant’s father) is the legal owner of the subject

                property;

             c. Defendant’s only claim to ownership of the subject property is an alleged

                “verbal land contract” with Dwight Bowen, Jr.;


                                              3
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 5 of 7 PAGEID #: 5




              d. Defendant has not lived at the subject property since at least November 2,

                 2019; and

              e. Defendant’s driver’s license lists her address as 1220 Cemetery Road, New

                 Lexington, Ohio.

        18.      Neither Plaintiff nor the Defendant’s insurance agent were informed of any

of the facts set forth in paragraph 17 above at any time between the submission of the

September 21, 2010 application and the March 29, 2022 date of loss.

        19.      Ohio law requires that a person taking out a policy of insurance have an

insurable interest in the subject matter of the insurance. Otherwise, the policy is void.

        20.      The requirement that a person taking out a policy of insurance have an

insurable interest in the subject matter of the insurance is a matter of public policy in

Ohio.

        21.      The insurance policy provides coverage under “Coverage A” for the

“Dwelling on the ‘residence premises’ shown in the Declarations” of the policy.

        22.      For Coverage A to apply, the policy requires that the named insured be

residing in the “residence premises” at the time of the loss in order for the dwelling to be

covered under the policy.

        23.      Contrary to her representation to the Plaintiff in the September 21, 2010

application, Defendant does not have an insurable interest in the subject property because

Defendant has never owned the subject property.

        24.      Further, a “verbal land contract” between Defendant and Dwight Bowen,

Jr., if one exists, is unenforceable under the Statute of Frauds, Ohio Revised Code

§1335.04, and therefore, does not give the Defendant an insurable interest in the subject

property.


                                              4
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 6 of 7 PAGEID #: 6




       25.      Because Defendant has no insurable interest in the subject property, the

Dwelling coverage provided by Coverage A of the policy is void.

       26.      Defendant was not living at the subject property at the time of the loss, nor

at the time of the most recent renewal of the policy.

       27.      Because Defendant was not living at the subject property at the time of the

loss, the subject property does not qualify as a “residence premises” under the Policy.

       28.      Therefore, even if Defendant has an insurable interest in the subject

property, there is no coverage for the dwelling under Coverage A of the policy.

       29.      There is a genuine and justifiable controversy between the Plaintiff and

Defendant as to the rights and obligations of said parties under the homeowner’s

insurance policy and Plaintiff is entitled to a determination construing the provisions of

the policy and declaring the rights, duties, and obligations of the parties in relation to

Defendant’s claim for coverage with respect to the aforementioned loss that occurred on

or about March 29, 2022.

       30.      As Plaintiff has an interest in the policy of homeowner’s insurance between

itself and Defendant, Plaintiff requests that this Court enter a Declaratory Judgment

interpreting the aforementioned policy of homeowner’s insurance and declaring the

rights, status, and/or legal relations thereunder.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for a declaratory judgment and Order from this

Court declaring the following:

             a. Coverage A of the contract for homeowner’s insurance between Plaintiff and

                Defendant is void because Defendant lacks an insurable interest in the

                subject property; or, alternatively;


                                               5
  Case: 2:22-cv-02727-JLG-KAJ Doc #: 1 Filed: 07/08/22 Page: 7 of 7 PAGEID #: 7




             b. Plaintiff has no liability under Coverage A of the homeowner’s insurance

                policy issued to Defendant for the March 29, 2022 loss because Defendant

                was not living at the subject property at the time of the loss.

As to all causes of action, Plaintiff demands any other relief that this Court deems just and

equitable.



                                            Respectfully submitted,

                                            KARR SHERMAN & MAGNONE CO., LPA

                                            /S/ Antonio L. Magnone_____________
                                            Antonio L. Magnone            (0089701)
                                            89 E. Nationwide Blvd., 2nd Floor
                                            Columbus, Ohio 43215
                                            (614) 478-6000
                                            (614) 972-8453 - fax
                                            amagnone@karrsherman.com
                                            Attorney for the Plaintiff




                                               6
